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                  IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MARYLAND


    UNITED STATES OF AMERICA                :
                                            :
                                            :
         v.                                 :        Case No. JKB-22-439
                                            :
    DAVID WARREN                            :
                                            :
         Defendant.                         :


     REPLY IN SUPPORT OF MOTION TO SUPPRESS FRUITS OF CELL
       PHONE SEARCHES AND MOTION TO SUPPRESS FRUITS OF
         SEARCHES CONDUCTED PURSUANT TO WARRANTS

         Defendant David Warren (“Mr. Warren”), by and through his counsel, John

M. McKenna, Michael E. Lawlor, Adam C. Demetriou, and Brennan, McKenna &

Lawlor, Chtd., respectfully submits the following Reply in Support of his Motion to

Suppress Fruits of Cell Phone Searches (ECF No. 135) and Motion to Suppress

Fruits of Searches Conducted Pursuant to Warrants (ECF No. 138).


    I.   Motion to Suppress Fruits of Cell Phone Searches (ECF No. 135)

         A.    Silver iPhone Seized on May 2, 2018

         On May 2, 2018, Mr. Warren was the subject of a warrantless traffic stop and

arrest. Four BPD officers pulled over Mr. Warren’s vehicle because they contended

that the rear license plate was hanging from the from the right side.1 The officers


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    Body-worn camera footage shows clearly that this assertion is not true.
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ultimately searched the vehicle and found marijuana and a single bullet. Officer

Romeo seized from Mr. Warren’s person a silver iPhone. Mr. Warren has moved to

suppress the fruits of the presumptively unlawful search and seizure. Should this

Court grant that motion, the motion to suppress the fruits of the search of the iPhone

seized that day will be rendered moot.

      After his arrest, officers transported Mr. Warren to the BPD homicide unit to

be interviewed. They also submitted various items, including the bullet and Mr.

Warren’s iPhone to the BPD evidence control unit. That same day, Mr. Warren was

charged with driving on a revoked license and unlawful possession of one round of

ammunition. Those charges were dismissed on June 20, 2018. At no time during the

pendency of that matter did officers obtain a warrant to search the contents of the

cell phone.

      The iPhone remained, unsearched, at the BPD evidence control unit for years.

On October 22, 2020, BPD Sergeant Joseph Landsman applied to Judge Catherine

O’Malley of the District Court of Maryland for Baltimore City for a warrant to

search the contents of that cell phone for evidence related to the murders of C.N. and

J.A., which occurred on April 4, 2018. Judge O’Malley issued the warrant. The

Government intends to introduce evidence obtained pursuant to that warrant at the

trial in this case. It would have this Court conclude, in the absence of any authority

supporting its position, that a delay of more than 29 months between the seizure of

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a phone and the application for a warrant to search its contents complies with the

Fourth Amendment. The Court should reject this argument.

      In Pratt, the Fourth Circuit held that “[a] seizure that is lawful at its inception

can nevertheless violate the Fourth Amendment because its manner of execution

unreasonably infringes possessory interests. To determine if an extended seizure

violates the Fourth Amendment, [courts] balance the government’s interest in the

seizure against the individual’s possessory interest in the object seized.” United

States v. Pratt, 915 F.3d 266, 271 (4th Cir. 2019) (internal citations omitted). Under

Pratt, courts also consider whether the Government has provided a persuasive

justification for the delay in obtaining a warrant. The United States Court of Appeals

for the Eleventh Circuit employs a similar test. That Court has identified the

following factors to consider when a delayed warrant is at issue: (1) the significance

of the interference with an individual’s possessory interest; (2) the duration of the

delay; (3) whether the individual consented to the seizure; (4) the Government's

legitimate interest in holding the property as evidence, and (5) whether members of

law enforcement were diligent in pursuing their investigation. United States v. Laist,

702 F.3d 608, 613-614 (11 Cir. 2012).

      Tellingly, the Government has not identified a single case upholding as

reasonable a 29-month delay in obtaining a search warrant. In Pratt itself, the Fourth

Circuit found unreasonable a 31-day delay in obtaining a warrant to search a cell

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phone. Other courts too have rejected as unreasonable warrants issued after delays

far shorter than the delay at issue here. United States v. Wilkins, 538 F. Supp. 3d 49,

95 (D.D.C. 2021) (Contreras, J.) (rejecting as unreasonable a 15-month delay in

obtaining a warrant to search a phone); United States v. Mitchell, 565 F.3d 1347

(11th Cir. 2009) (21-day delay in obtaining warrant to search computer found to be

unreasonable).

      The Government claims that Mr. Warren had such a diminished possessory

interest in the phone as to render reasonable a delay of this extreme magnitude. The

Court should reject this argument. As an initial matter, courts have repeatedly

affirmed that individuals maintain a strong possessory interest in their smartphones

and computers. E.g., Wilkins, 538 F. Supp. 3d at 92 (D.D.C. 2021) (citing Laist, 702

F.3d at 614) (“This recognition of the capabilities of modern smartphones . . . means

that they contain similar possessory interests to that of an individual’s personal

computer. And ‘individuals may have a particularly powerful possessory interest’ in

their own computers, as they are ‘relied upon heavily for personal and business use.’

Accordingly, as a starting point, Mr. Wilkins appears to have a strong possessory

interest in his ZTE phone.”). Mr. Warren did not act seriously to diminish this strong

interest. As in Wilkins, Mr. Warren did not consent to the seizure of his phone on

May 2, 2018.




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      Much like in Wilkins, here the Government’s balancing analysis relies upon

almost exclusively on Mr. Warren’s purported failure to demand the phone’s return

to argue that Mr. Warren forfeited any and all possessory interest in it. The

Government states that Detective Romeo will testify that “at no point did Warren

ask for the phone.” (ECF No. 205 at 52.) That testimony would be false. At

approximately the 30 minute and 50 second mark in Officer Romeo’s body-worn

camera footage, as Officer Romeo and Officer Horne are placing Mr. Warren into a

police vehicle, Mr. Warren asks: “Can I get my phone?” Officer Romeo responds:

“It will probably go down with your property.” Clearly, Mr. Warren asserted his

possessory interest in the phone.2

      Courts have rejected the very argument the Government advances here. See

United States v. Burgard, 675 F.3d 1029, 1033 (7th Cir. 2012) (“In addition, it can

be revealing to see whether the person from whom the item was taken ever asserted

a possessory claim to it—perhaps by checking on the status of the seizure or looking

for assurances that the item would be returned. If so, this would be some evidence

(helpful, though not essential) that the seizure in fact affected her possessory

interests.”) (emphasis added). As in Wilkins, there is good reason that Mr. Warren

may have avoided reaching out to law enforcement to inquire about his phone. As



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 This interaction is also captured on Officer Horne’s body-worn camera at the 30
minute and 46 second mark.
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the Government has repeatedly emphasized, BPD has been actively investigating

Mr. Warren for years. And such “[a]n unwillingness to invite a criminal prosecution”

“cannot [be] equat[ed]. . . [to] a voluntary abandonment of any interest.” Walter v.

United States, 447 U.S. 649, 658 n.11 (1980); see also Wilkins, 538 F. Supp. 3d at

93.

      This Court must balance Mr. Warren’s strong possessory interest in the phone

against the Government’s justification for the lengthy seizure. The Government

argues that the extended seizure was justified because “the phone contains

substantial evidentiary value related to violent crimes” (ECF No. 205 at 53.) The

Government again misses the mark. The phone was not seized in connection with

the investigation of a crime of violence. The phone was seized in the course of a

traffic stop premised upon an allegedly crooked license plate. Mr. Warren was

charged with driving while suspended and unlawful possession of ammunition. In

the time before those charges were dismissed in June 2018, law enforcement did not

seek a warrant for the phone. There is simply no argument that such an extended

seizure would have been necessary to preserve evidence of dismissed charges.

Again, as in Wilkins, the Government “in short, seems to have inadvertently retained

the [iPhone] for over [29] months with no real justification—and certainly

no probable cause or reasonable suspicion— until it was rediscovered when it could




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serve a useful purpose for law enforcement.” 538 F. Supp. 3d at 94. The

Government’s interest in the extended seizure is, to say the least, weak.

         Under Pratt, this Court also considers the diligence with which law

enforcement sought a warrant to search the cell phone at issue. Here, investigators

did not act with diligence. The phone was essentially forgotten for 29 months. The

murders of C.N. and J.A. occurred on April 4, 2018. Sergeant Landsman is a task

force officer with the FBI. On January 23, 2020, Jeremy Tepper, another FBI TFO,

applied to Judge Coulson of this Court for a warrant to search Mr. Warren’s

Instagram account. See Ex. G to ECF No. 205 (filed under seal). In the supporting

affidavit, TFO Tepper summarized the state of the investigation into the April 2018

murders. TFO Tepper represented that in April 2019, a confidential source told

investigators that Mr. Harrison paid Mr. Warren and others to commit the murders.

The affidavit also alleges that the same confidential source reported that he had

spoken with Mr. Warren and that Mr. Warren himself indicated that he had been

paid to commit the murders.3 If, as of April 2019, investigators had this information

from a confidential source whom they represented to a judge of this Court to be

“truthful and reliable,” then there is simply no legitimate explanation as to why those

same investigators would not at that time have sought a warrant to search a cell




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    Mr. Warren is not aware of the identity of the confidential source.
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phone seized from Mr. Warren one month after the murders. Again, the record shows

that officers simply forgot about the phone. It does not show diligence.

      The Government contends that Sergeant Landsman’s receipt of the alleged

murder weapon in October 2020 justifies the unreasonable delay in seeking a search

warrant for the phone. The weapon at issue was seized from a man named Reginald

Goodall by the Maryland Transportation Authority Police on October 22, 2019. On

November 15 and 18, 2019, officials with the Maryland State Police Forensic

Sciences Division entered test fired casings from the subject firearm into NIBIN and

IBIS. The results from both databases indicated a connection between the casings

fired from that firearm and ballistics evidence found at the scene of the murders of

C.N. and J.A. See Ex. A. The Government does not explain why law enforcement

officials would not have obtained information related to that presumptive match as

early as November 2019, especially if they were diligently investigating the murders.

      Finally, the Government argues that the good faith exception saves this

warrant. Both the Seventh and the Ninth Circuits have declined to apply the good

faith exception in cases like this. Burgard, 675 F. 3d at 1035 (“When an officer waits

an unreasonably long time to obtain a search warrant, in violation of the Fourth

Amendment, he cannot seek to have evidence admitted simply by pointing to that

late-obtained warrant . . . removing this sort of police misconduct from the ambit of

the exclusionary rule would have significant implications: it would eliminate the

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rule’s deterrent effect on unreasonably long seizures. Police could seize any item—

a phone, a computer, a briefcase, or even a house—for an unreasonably long time

without concern for the consequences, evidentiary and otherwise.”); United States

v. Song Ja Cha, 597 F.3d 995, 1006 (9th Cir. 2010) (“[T]he exclusionary rule is

applicable where seizures are unconstitutionally long” to “deter unreasonable police

behavior and to provide for judicial determination of probable cause.”). Applying

the good faith exception here would eviscerate the exclusionary rule’s deterrent

effect with respect to unreasonably long seizures. Wilkins, 538 F. Supp. 3d at 96.

The Court should suppress the fruits of this search warrant.

      The warrant is also deficient. First, it relies upon evidence that was seized

unlawfully. Specifically, the warrant relies upon the August 16, 2018 warrantless

arrest and search of Mr. Warren and the vehicle he was operating. It also relies upon

historical CSLI for the 8277 phone that was obtained in September 2018. As argued

in a simultaneously filed supplemental motion, that data was obtained in violation

of the Fourth Amendment’s warrant requirement.4 The affidavit also relies upon

historical CSLI for a -6088 number, but the Government has represented to counsel

that it cannot locate the court order authorizing the search of that CSLI and will not

rely on that data at trial. The warrant also relies upon the May 2, 2018 warrantless



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 See Supplemental Motion to Suppress Fruits of Searches of Historical Cell Site
Location Information and Request for Franks Hearing.
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search and seizure of Mr. Warren. All of this information must be excised from any

review of the probable cause set forth in the warrant. United States v. Gillenwaters,

890 F.2d 679, 681-82 (4th Cir. 1989). Additionally, Mr. Warren is entitled to a

hearing on this warrant pursuant to Franks v. Delaware, 438 U.S. 154 (1978). The

affidavit contains a false statement with respect to the search of historical CSLI for

the -8277 phone. Officers did not, as the affidavit represents, apply for and receive

a warrant to obtain this information. Instead, officers relied upon an invalid Stored

Communications Act Order in contravention of the Supreme Court’s decision in

Carpenter v. United States, 585 U.S. 296 (2018). Had Sergeant Landsman not

included this affirmatively false statement, there would have been no probable cause

for the warrant to issue for there would be no showing of any nexus between the

phone at issue and the murders under investigation.

      B.     LG Phone Seized on August 16, 2018
      The Government has disclaimed any intent to introduce evidence from this

phone at trial. Mr. Warren notes that this phone was seized from a car he had been

operating when he was arrested without a warrant by members of the ATF on August

16, 2018. Mr. Warren has moved to suppress the fruits of that search and seizure and

all evidence derived therefrom, to include this phone.




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      C.       Black iPhone Seized on August 16, 2018

      Mr. Warren submits that any evidence seized from this phone is inadmissible

because it is derived from the unlawful warrantless search and seizure of Mr. Warren

and his vehicle on August 16, 2018. The Government’s arguments with respect to

this phone are unclear. As an initial matter, the Government appears not to rely on

the September 25, 2020 warrant for the search of this phone. (ECF No. 205-8.) To

the extent the Government does rely on that warrant, Mr. Warren asserts that officers

acted unreasonably in applying for such a warrant more than two years after the

phone had been seized.5 Mr. Warren incorporates the arguments raised above with

respect to the sufficiency and legality of the warrant and notes that it was issued on

the basis of unlawfully obtained evidence. It now appears that the Government relies

upon a September 11, 2018 warrant issued by Judge Copperthite. Gov. Ex. M (filed

under seal).

      The Government argues that Mr. Warren does not have standing to challenge

the search of this phone. As an initial matter, both ATF Agent Piccirilli (Gov. Ex.

M) and FBI TFO Landsman (Gov. Ex. L) represented under oath to different judges

that this phone was seized from Mr. Warren and that he had been using it. The

Government represents in its Response that “there was evidence that Warren


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 On August 17, 2018, Mr. Warren was charged with firearms offenses related to the
August 16, 2018 search and seizure. Those charges were dismissed on January 28,
2019, well before Sergeant Landsman sought this warrant.
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borrowed the phone from Prince on occasion.” (ECF No. 205 at 55.) The phone was

seized from a vehicle Mr. Warren was operating at the time of his arrest on August

16, 2018. At the time Mr. Warren was ordered out of the vehicle, he was the only

occupant. These circumstances are unlike others in which courts have held that

defendants lack standing to challenge the search of cell phones seized from them. In

United States v. Currie, No. 8:20-CR-00262-PWG, 2022 WL 195504, at *4 (D. Md.

Jan. 21, 2022), Judge Grimm held that a defendant lacked standing to challenge the

search of data stored on two cell phones where the cell phones at issue belonged to

the alleged victim in the case. Here, the Government concedes that Mr. Warren

lawfully used the cell phone at issue. There is no evidence that Mr. Warren stole this

phone. In United States v. Rocha, No. 06-40057-01-RDR, 2008 WL 4498950, at *6

(D. Kan. Oct. 2, 2008), on the other hand, the Government argued that the defendant

lacked standing to challenge the search of several cell phones seized from his RV

during a traffic stop. The Court rejected the argument, finding that the evidence

established that the defendant exercised control over the subject phones. Mr. Warren

has clearly established a legitimate expectation of privacy in the phones he possessed

in his car.

       Mr. Warren now addresses the September 2018 warrant to search the contents

of that iPhone. First, the warrant relies upon the unlawful warrantless search and

seizure of August 16, 2018. Second, the affidavit in support of the warrant does not

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establish a sufficiently particularized nexus between the contents of the cell phone

and any alleged drug trafficking. The warrant relies upon various confidential

sources to attempt to connect Mr. Warren to the so-called Lafayette DTO, yet it

contains no representations about the background and reliability of those sources.

Third, the warrant is overbroad. It permits a nearly limitless search of the files

contained on the phone. On its face, after excising references to unlawfully obtained

evidence, the warrant is so insufficient as to preclude reasonable reliance on it.


II.   Motion to Suppress Fruits of Searches Conducted Pursuant to
      Warrants (ECF No. 138)
      A.     July 17, 2018 Warrant to Search Mr. Warren’s Person

      The Government represents that it does not intend to introduce any evidence

obtained pursuant to this warrant. (ECF No. 205 at 36.) However, with respect to

Mr. Warren’s motion to suppress the fruits of a July 23, 2018 arrest, the Government

argues that “[t]his was not a warrantless search and seizure as officers had a valid

search warrant to execute on Warren’s person that authorized the seizure of any

cellphones.” (ECF No. 205 at 15.) Mr. Warren persists in his motion to suppress the

fruits of the July 17, 2018 warrant. He also persists in his motion to suppress the

fruits of the July 23, 2018 search and seizure.

      On July 17, 2018, Det. O’Shea of the Baltimore County Police Department

applied to Judge John Nagle of the Circuit Court for Baltimore County for a warrant

to search Mr. Warren’s person (including his cell phones); the person of his
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significant other; a blue Honda Accord; and a residence Mr. Warren shared with his

significant other. See Ex. B. Judge Nagle issued the warrant. The warrant sought

information in connection with the investigation into the June 27, 2018 attempted

murder of Jonus Ben in Randallstown. Mr. Warren challenges this warrant in several

respects. First, the warrant relies upon information obtained from the unlawful

warrantless arrest of him by members of BPD on May 2, 2018. Without that

information, there is simply nothing in the affidavit to establish any nexus between

Mr. Warren and the attempted murder of Jonus Ben. Moreover, the affidavit states

that “both David Warren and Victim Jonus Ben are members of the Black Guerilla

Family[,]” yet it provides no support for that assertion. After excising the unlawfully

obtained information from the affidavit, there is not sufficient evidence presented to

establish probable cause to believe that evidence of the shooting of Jonus Ben would

be found on Mr. Warren’s person or at his home. This Court should suppress the

fruits of the July 17, 2018 warrant.

      B.     September 18, 2018 Instagram Warrant

      The Court should suppress the fruits of this warrant for several reasons. The

warrant relies upon the fruits of the May 2, 2018 unlawful warrantless search and

seizure of Mr. Warren, to include jail calls Mr. Warren allegedly made while he was

incarcerated in connection with that arrest. The warrant also relies upon the August

16, 2018 unlawful warrantless search and seizure of Mr. Warren. Furthermore, the

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warrant does not contain information to establish any nexus between the shooting of

Jonus Ben and Mr. Warren’s Instagram account. The Government argues that Det.

O’Shea’s speculation that “Instagram wall posts and messages could provide

detectives with information or motive regarding the crime under investigation” is

sufficient to demonstrate nexus. (ECF No. 205 at 38 (emphasis added).) Mere

speculation, however, is insufficient to demonstrate a nexus between a crime under

investigation and a location to be searched. See, e.g., United States v. Shanklin, No.

2:12CR162, 2013 WL 6019216, at *8-9 (E.D. Va. Nov. 13, 2013) (rejecting as

invalid a search warrant in which the affiant cited “a possibility that the computers

contain evidence of the exploitation of children, a speculation that is insufficient to

establish probable cause” and declining to apply the good faith exception where

“[t]he detective attempted to establish probable cause using conclusory and

speculative assertions”); United States v. White, 660 F.2d 1178, 1184 (7th Cir. 1981)

(“A lawful seizure must be based upon a ‘nexus’ between the item seized and

particular criminal behavior. The ‘nexus’ must be one known to the officers at the

time of the seizure and may not be based upon mere speculation.”) (citations

omitted) (emphasis added). Where, as here, a warrant is lacking in indicia of

probable cause, the good faith exception does not apply.




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      C.     January 23, 2020 Instagram Warrant

      The Government has advised that it intends to rely not only on the September

2018 Baltimore County warrant to search the contents of Mr. Warren’s Instagram

account, but also on a January 2020 federal warrant authorizing a search of the same

account. Mr. Warren moves to suppress the fruits any search conducted pursuant to

this warrant. See Gov. Ex. G (under seal). The warrant fails to establish any nexus

between Mr. Warren’s Instagram account and the offenses under investigation.

While the warrant details several publicly facing social media postings from owners

of other target accounts, it does not contain any such information with respect to Mr.

Warren or his account. The warrant is also invalid because it is overbroad. The

warrant authorizes the search of nearly all files associated with the account from

January 2015 through January 15, 2020. The warrant also authorizes the seizure of

data containing evidence of certain crimes from April 17, 2017 through May 15,

2019. As to Mr. Warren, the only representations in the affidavit concerning alleged

crimes relate information provided by a single unnamed confidential informant with

respect to the April 2018 murders of CN and JA. There is no justification in the

affidavit for the seizure of information associated with the account in the years

before and after those murders. There is no information concerning Mr. Warren’s

alleged involvement with YGG members apart from information related to the April

2018 homicides. For example, there is no allegation of Mr. Warren’s involvement


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in a drug trafficking conspiracy with YGG members. In light of these serious

deficiencies, the affidavit is so facially invalid as to preclude good faith reliance on

the warrant.

       In the alternative, Mr. Warren also requests a hearing with respect to this

warrant pursuant to Franks v. Delaware, 438 U.S. 154 (1978). Here, the affiant

omitted material information that would have defeated any arguable basis to find

probable cause to search and seize data after August 16, 2018. Specifically, the

affiant did not inform Judge Coulson that Mr. Warren had been incarcerated since

that date. Given that Mr. Warren was incarcerated, there is simply not probable cause

to believe evidence of the target offenses would be found in the files of the Instagram

account that postdate his arrest.

       D.       Post-Carpenter Stored Communications Act Order for Historical
                CSLI
       Mr. Warren addresses this Order by way of a separate supplemental motion.



                                    CONCLUSION

       For the reasons stated above and those to be presented at the motions hearing,

this Court should suppress the fruits of the searches conducted pursuant to warrants

in this case.




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                                          Respectfully submitted,

                                          ___________/s/_______________
                                          John M. McKenna
                                          Michael E. Lawlor
                                          Adam C. Demetriou
                                          Brennan, McKenna & Lawlor, Chtd.
                                          6305 Ivy Lane, Suite 700
                                          Greenbelt, Maryland 20770
                                          (301) 474-0044



                         CERTIFICATE OF SERVICE
      I HEREBY CERTIFY that on this 12th day of June, 2024, the foregoing was

served on all parties via ECF.



                                                      _____/s/________
                                                      John M. McKenna




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